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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                         CASE NO. 20-81123-CIV-CANNON/Reinhart

  DR. EUGENE MISQUITH,

         Plaintiff,
  v.

  ROBERTO BORREGO, et al.,

         Defendants.
                                                             /

   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         THIS CAUSE is before the Court upon Defendants’ Motion to Dismiss Plaintiff’s

  Amended Complaint (“Motion to Dismiss”) [ECF No. 53], filed on December 7, 2020. The

  Motion to Dismiss was referred to Magistrate Judge Dave Lee Brannon for a Report and

  Recommendation (“Report”) [ECF No. 64]. On May 7, 2021, Magistrate Judge Brannon issued a

  Report recommending that the Motion to Dismiss be granted in part and denied in part

  [ECF No. 65]. Specifically, the R&R concludes that the Amended Complaint is “an impermissible

  shotgun pleading” and “does not comply with Rules 8(a)(2) and 10(b)” [ECF No. 65, pp. 4-5].

  The R&R recommends that the Amended Complaint be denied without prejudice so that Plaintiff

  may plead his case in accordance with Federal Rules of Civil Procedure 8(a)(2) and 10(b)

  [ECF No. 65, p. 5].

         On May 21, 2021, Plaintiff timely filed a response to the R&R, objecting to the

  characterization of the Amended Complaint as a “shotgun pleading,” and stating that “the facts

  outlined in the complaint necessarily apply to all of the Defendants” [ECF No. 67 ¶ 2]. Assuming

  the R&R is adopted, Plaintiff further requests leave to file a Second Amended Complaint in
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  accordance with the Magistrate Judge’s recommendation [ECF No. 67 ¶¶ 4-10]. The Court later

  struck Plaintiff’s response to the R&R to the extent it sought leave of Court to amend a pleading

  because the motion did not contain a certificate of conference, as required by S.D. Fla. L.R.

  7.1(a)(3) [ECF No. 68].

         The Court has conducted a de novo review of the R&R and the record in this case and is

  otherwise fully advised in the premises. Upon review, the Court finds the R&R to be well-reasoned

  and correct. The Court therefore agrees with the analysis in the R&R and concludes that

  Defendants’ Motion to Dismiss should be GRANTED IN PART for the reasons set forth therein.

         Accordingly, it is ORDERED and ADJUDGED as follows:

         1.     The R&R [ECF No. 65] is ADOPTED;

         2.     Defendants’ Motion to Dismiss [ECF No. 53] is GRANTED IN PART;

         3.     Plaintiff’s Amended Complaint [ECF No. 39] is DISMISSED WITHOUT

                PREJUDICE;

         4.     Plaintiff will have one final opportunity to file an amended complaint.

         5.     Any second amended complaint must be filed on or before June 16, 2021.

         6.     Plaintiff is advised that its second amended complaint must avoid incorporating

                into successive counts all preceding allegations and counts; must clearly identify

                the particular factual allegations relevant to each count; and must specify in explicit

                terms the exact cause of action in each count and against whom each cause of action

                is alleged. See generally Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d

                1313, 1321-23 (11th Cir. 2015).




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        7.     Defendants will have 14 days from the filing of Plaintiff’s amended pleading to file

               separate answers or a single combined responsive motion. Fed. R. Civ. P.

               15(a)(3).

        DONE AND ORDERED in Chambers at Fort Pierce, Florida this 1st day of June 2021.




                                                        _________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE
  cc:   counsel of record




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